             1       ARMAND J. KORNFELD (WSBA #17214)                     HON. WHITMAN L. HOLT
                     THOMAS A. BUFORD (WSBA #52969)
             2       RICHARD B. KEETON (WSBA #51537)
                     BUSH KORNFELD LLP
             3       601 Union Street, Suite 5000
                     Seattle, WA 98101
             4       Tel.: (206) 292-2110
                     Facsimile: (206) 292-2104
             5       Emails: jkornfeld@bskd.com, tbuford@bskd.com, and
                     rkeeton@bskd.com
             6       RICHARD M. PACHULSKI (CA Bar #90073)*
                     JEFFREY W. DULBERG (CA Bar #181200)*
             7       JASON H. ROSELL (CA Bar #269126)*
                     PACHULSKI STANG ZIEHL & JONES LLP
             8       10100 Santa Monica Blvd., 13th Floor
                     Los Angeles, CA 90067-4003
             9       Tel: (310) 277-6910
                     Facsimile: (310) 201-0760
         10          Emails: rpachulski@pszjlaw.com,
                     jdulberg@pszjlaw.com, and mlitvak@pszjlaw.com
         11
                     *Admitted Pro Hac Vice
         12          Attorneys for Plaintiff,
                     Debtors and Debtors in Possession
         13
         14                              UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
         15      In re                                                   Chapter 11
         16      EASTERDAY RANCHES, INC., et al.                         Lead Case No. 21-00141-11
                                                                         Jointly Administered
         17                                          Debtors. 1
         18      EASTERDAY FARMS,                                        Adv. Pro. No. 21-_____ (WLH)
         19                                   Plaintiff,                 COMPLAINT
                 v.
         20
                 3E PROPERTIES, JODY EASTERDAY,
         21      ESTATE OF GALE A. EASTERDAY
                 (DECEASED), KAREN L. EASTERDAY,
         22      CODY A. EASTERDAY, AND DEBBY
                 EASTERDAY
         23                         Defendants.
         24
         25      1
                       The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.
         26            (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
         27          COMPLAINT AGAINST 3E PROPERTIES, et al. –
                     Page 1                                                          B USH K ORNFELD           L LP
         28                                                                                  LAW OFFICES
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             1         Easterday Farms (“Farms” or “Plaintiff”), one of the above-captioned debtors and
             2   debtors in possession (collectively, the “Debtors”), hereby submits this Complaint and
             3   in support hereof respectfully states as follows:
             4                                  NATURE OF ACTION
             5         1.     This adversary proceeding seeks a determination regarding the ownership
             6   interests of Farms’ estate in that certain property commonly referred to as the “Onion
             7   Shed” located in Pasco, Washington (the “Pasco Onion Shed Property”).
             8         2.     Upon information and belief, any purported transfer of Farms’ interest in
             9   the Pasco Onion Shed Property to Defendant Jody Easterday or Defendant 3E Properties
         10      (“3E”) was conducted without the requisite authority to do so under Washington state
         11      law. Consequently, any interest asserted by Defendants Jody Easterday or 3E in the
         12      Pasco Onion Shed Property has no legal effect.
         13            3.     Accordingly, by this Complaint, Farms seeks judicial determinations and
         14      declaratory judgments that the entirety of the Pasco Onion Shed Property is property of
         15      its estate and is not owned, in whole or in part, by any of the Defendants.
         16                                 JURISDICTION AND VENUE
         17            4.     This is an adversary proceeding pursuant to Rule 7001(2) of the Federal Rules
         18      of Bankruptcy Procedure (the “Bankruptcy Rules”).
         19            5.     This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
         20      and 1334. This matter is a core proceeding under 28 U.S.C. § 157(b).
         21            6.     Venue of the Debtors’ bankruptcy cases and this adversary proceeding is
         22      proper pursuant to 28 U.S.C. §§ 1408 and 1409.
         23            7.     Pursuant to Bankruptcy Rule 7008, Plaintiff submits to entry of final orders
         24      or judgment by this court in this adversary proceeding.
         25
         26
         27       COMPLAINT AGAINST 3E PROPERTIES, et al. –
                  Page 2                                                           B USH K ORNFELD            L LP
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             1                                            PARTIES
             2         8.     Plaintiff is one of the debtors and debtors in possession in the above-
             3   captioned chapter 11 bankruptcy cases.
             4         9.     Defendant 3E Properties, is a Washington state general partnership.
             5         10.    Upon information and belief, Defendant Jody Easterday is an individual
             6   residing in the State of Washington.
             7         11.    Upon information and belief, Defendant Estate of Gale A. Easterday
             8   (deceased) is a probate estate currently administered by Defendant Karen L. Easterday
             9   (widow of Gale A. Easterday), an individual residing in the State of Washington.
         10      Defendant Karen L. Easterday is a party to this action in her individual capacity and as
         11      the personal representative of the probate estate of Gale A. Easterday in Probate Case
         12      No. 21-4-50004-11, Franklin County, Washington.
         13            12.    Upon information and belief, Defendants Cody A. Easterday and Debby
         14      Easterday (husband and wife) are individuals residing in the State of Washington.
         15                                        BACKGROUND
         16      A.    General Background
         17            13.    On February 1, 2021, Debtor Easterday Ranches, Inc. (“Ranches”) filed a
         18      voluntary petition for relief under chapter 11 of title 11 of the U.S. Code (the
         19      “Bankruptcy Code”) before this court.
         20            14.    On February 8, 2021, Farms also filed a voluntary petition for relief under
         21      chapter 11 of the Bankruptcy Code before this court.
         22            15.    The Debtors continue to operate and manage their business and affairs as
         23      debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. Two
         24      separate Official Committees of Unsecured Creditors have been appointed in the
         25      Debtors’ cases by the Office of the U.S. Trustee.
         26
         27       COMPLAINT AGAINST 3E PROPERTIES, et al. –
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             1   B.      The Formation of Farms and the Farms Partnership Agreement
             2           16.   On or about October 27, 1999, the Farms General Partners executed that
             3   certain   Easterday      Farms   Partnership    Agreement    (the      “Farms        Partnership
             4   Agreement”).2 The Farms Partnership Agreement expressly provides that the Farms
             5   partnership is a continuation of “an already existing partnership which commenced
             6   January 1, 1993 . . . .” Farms Partnership Agreement, ¶ 2.
             7           17.   The Farms Partnership Agreement expressly provides that title to Farms’
             8   property “shall be acquired and held in the names of the [Farms’ General
             9   Partners].” Farms Partnership Agreement, ¶ 8 (emphasis supplied).
         10      C.      The Pasco Onion Shed Property
         11              18.   On October 31, 1995, the Farms General Partners, as “Purchasers,” and
         12      Charlie and Helen Cox, husband and wife, as “Sellers” (together, the “Coxes”) entered
         13      into that certain Real Estate Contract (Long Form) (the “Purchase Agreement”) with
         14      respect to the Pasco Onion Shed Property, which is identified as Assessor’s Property
         15      Tax Parcel/Account Number 112-021-017 with a legal description of: 3
                      All of Blocks 13 and 14, Northern Pacific First Addition to the City of
         16
                      Pasco, According to the Plat Thereof Recorded in Volume B of Plats, Page
         17           60, Records of Franklin County Washington.
         18      A copy of the Purchase Agreement is attached hereto as Exhibit 1.
         19              19.   The Purchase Agreement contemplated the purchase of the Pasco Onion
         20      Shed Property and certain potato processing equipment identified therein (the “Potato
         21      Equipment”) for an aggregate purchase price of $650,000 (the “Purchase Price”), which
         22      was payable as follows: $150,000 due at sale closing, followed by ten (10) annual
         23
                 2
         24        The general partners of Farms are Defendants Gale A. Easterday, Karen L. Easterday,
                 Cody A. Easterday, and Debby Easterday (collectively, in such capacities, the “Farms
         25      General Partners”). Defendant Jody Easterday is not among the Farms General Partners.
                 3
                   The Pasco Onion Shed Property has a street address of 1427 North First Avenue,
         26      Pasco, Washington 99301.
         27          COMPLAINT AGAINST 3E PROPERTIES, et al. –
                     Page 4                                                          B USH K ORNFELD           L LP
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             1   payments of $51,000 beginning on December 1, 1996 through November 1, 2005
             2   (collectively, the “Annual Payments”).4 See Purchase Agreement, §§ B and C. Upon
             3   the Farms General Partners’ payment of all of the Purchase Price (inclusive of the
             4   Annual Payments), the Coxes agreed to deliver a fulfillment deed and bill of sale to the
             5   Farms General Partners. See Purchase Agreement, ¶ 5.
             6           20.   In addition, the Purchase Agreement expressly provides that title to
             7   the Pasco Onion Shed property was to remain with the Coxes until the delivery of
             8   a fulfilment deed by the Coxes. The Farms General Partners also granted the Coxes a
             9   security interest in (i) all condemnation awards and insurance proceeds relating to the
         10      Pasco Onion Shed Property and (ii) all rights, titles, and interest in the Potato
         11      Equipment. See id.
         12              21.   On November 1, 1995, the Purchase Agreement was recorded as
         13      instrument number 950525228 in the county records of Franklin County, Washington
         14      Auditor’s Office. Additionally, on that same date, a UCC-2 fixture filing (the “Fixture
         15      Filing”), as authorized under the Purchase Agreement was also recorded with the
         16      Franklin County, Washington Auditor’s Office, as instrument number 950525230. The
         17      Fixture Filing identified the secured parties as the Coxes and, importantly, the Farms
         18      General Partners as the debtors, “D/B/A EASTERDAY FARMS.”                    A copy of the
         19      Fixture Filing is attached hereto as Exhibit 2.
         20              22.   Upon information and belief after reasonable inquiry, on November 1,
         21      1995, Farms issued Check No. 89198 to Chicago Title, the title company with respect
         22      to Farms’ acquisition of the Pasco Onion Shed Property, in the amount of $55,124.89
         23      with the memo “Cox Storage/Closing Cox.”
         24      4
                  Upon information and belief, the Coxes and the Farms General Partners agreed to an
         25      annual payment in the amount of $1,000, in lieu of interest, which accounts for the
                 discrepancy between the aggregate value of the Annual Payments and the stated amount
         26      of the Purchase Price.
         27          COMPLAINT AGAINST 3E PROPERTIES, et al. –
                     Page 5                                                       B USH K ORNFELD           L LP
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             1         23.    On April 20, 1999, that certain Record Survey (the “Survey”) with respect
             2   to the Pasco Onion Shed Property was recorded with the Franklin County, Washington
             3   Auditor’s Office as instrument no. 1564844. The Survey indicates that it was conducted
             4   on behalf of Farms. A copy of the Survey is attached hereto as Exhibit 3.
             5   D.    The Coxes’ Deaths and the Fulfillment Deeds Recordation
             6         24.    Prior to the completion of payments under the Purchase Agreement by
             7   Farms, the Coxes died, and their estates executed various deeds related to the Coxes’
             8   respective interests in the Pasco Onion Shed Property.
             9         25.    On January 14, 2003, Baker-Boyer National Bank (“BBNB”), as personal
         10      representative of the Estate of Charlie Needham Cox, Jr., executed that certain Personal
         11      Representative’s Deed and Seller’s Assignment of Real Estate Contract (the “Charlie
         12      Cox Estate Deed”), which conveyed an undivided one-half interest in the Pasco Onion
         13      Shed Property and assigned an undivided one-half interest in the Purchase Agreement
         14      to the Columbia Basin College Foundation (the “Foundation”). On January 15, 2003,
         15      the Charlie Cox Estate Deed was recorded with the Franklin County, Washington
         16      Auditor’s Office as instrument no. 1617747. A copy of the Charlie Cox Estate Deed is
         17      attached hereto as Exhibit 4.
         18            26.    On February 26, 2003, the Foundation executed that certain Statutory
         19      Warranty Deed (Fulfillment) (the “Charlie Cox Fulfillment Deed”), which conveyed an
         20      undivided one-half interest in the Pasco Onion Shed Property to the Farms General
         21      Partners and acknowledged the fulfilment of the Purchase Agreement.
         22            27.    On December 29, 2003, BBNB and Louise Chaney (“Chaney”), as co-
         23      personal representatives of the Estate of Helen C. Cox, executed that certain Personal
         24      Representative’s Partial Deed and Seller’s Assignment of Real Estate Contract (the
         25      “Initial Helen Cox Estate Deed”), which conveyed certain specified interests in the
         26      Pasco Onion Shed Property and assigned certain interests in the Purchase Agreement to
         27       COMPLAINT AGAINST 3E PROPERTIES, et al. –
                  Page 6                                                          B USH K ORNFELD           L LP
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             1   nine (9) grantees specifically identified therein (the “Initial Helen Cox Estate
             2   Grantees”). On that same date, the Initial Helen Cox Estate Deed was recorded with
             3   the Franklin County, Washington Auditor’s Office as instrument no. 1638049.
             4         28.   On April 28, 2004, BBNB and Cheney, as co-personal representatives of
             5   the Estate of Helen C. Cox, executed that certain Personal Representative’s Deed and
             6   Seller’s Assignment of Real Estate Contract (the “Second Helen Cox Estate Deed”, and
             7   together with the Initial Helen Cox Estate Deed, the “Helen Cox Estate Deeds”), which
             8   conveyed the remaining interest of the Estate of Helen C. Cox in the Pasco Onion Shed
             9   Property as well as assigned such estate’s remaining interest in the Purchase Agreement
         10      to eleven (11) grantees specifically identified therein (the “Second Helen Cox Estate
         11      Grantees”, and together with the Initial Helen Cox Estate Grantees, the “Helen Cox
         12      Estate Grantees”). On May 3, 2004, the Second Helen Cox Estate Deed was recorded
         13      with the Franklin County, Washington Auditor’s Office as instrument no. 1643951.
         14      Copies of the Helen Cox Estate Deeds are attached hereto as Exhibit 5.
         15            29.   At various times between June and September 2004, the Helen Cox Estate
         16      Grantees executed their respective Statutory Warranty Deed (Fulfilment) (collectively,
         17      the “Helen Cox Fulfillment Deeds”, and together with the Charlie Cox Fulfillment
         18      Deed, the “Fulfillment Deeds”), which conveyed each such grantee’s interest in the
         19      Pasco Onion Shed Property to the Farms General Partners and acknowledged the
         20      fulfillment of the Purchase Agreement.
         21            30.   On September 19, 2006, the Charlie Cox Fulfillment Deed was recorded
         22      with the Franklin County, Washington Auditor’s Office as instrument no. 1689918. On
         23      that same date, each of the Helen Cox Fulfillment Deeds were recorded with the
         24      Franklin County, Washington Auditor’s Office as instrument nos. 1689879, 1689880,
         25      1689881, 1689882, 1689883, 1689884, 1689885, 1689886, 1689887, 1689888,
         26
         27       COMPLAINT AGAINST 3E PROPERTIES, et al. –
                  Page 7                                                         B USH K ORNFELD            L LP
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             1   1689912, 1689913, 1689914, 1689915, 1689916, and 1689917.                   Copies of the
             2   Fulfillment Deeds are attached hereto as Exhibit 6.
             3         31.    Accordingly, on September 19, 2006, following the recording of the
             4   Fulfillment Deeds, full ownership of the Pasco Onion Shed was vested in Farms, held
             5   in the names of each of the Farms General Partners, in accordance with the terms and
             6   conditions of the Farms’ Partnership Agreement. The entirety of the Pasco Onion Shed
             7   Property constitutes property of Farms’ estate.
             8   E.    The Purported Transfers to Jody and the Formation of 3E
             9         32.    On or about July 24, 1997, the Farms General Partners and Jody Easterday
         10      (collectively, in such capacities, the “3E General Partners”), executed that certain 3E
         11      Properties Partnership Agreement (the “3E Partnership Agreement”).                      The 3E
         12      Partnership Agreement provides that 3E began as of January 1, 1997. 3E Partnership
         13      Agreement, ¶ 2. As initially drafted, the 3E Partnership Agreement provided that title
         14      to 3E’s property “shall be acquired and held in the name of the [3E General Partners].”
         15      3E Partnership Agreement, ¶ 8.
         16            33.    On that same date, following the execution and recording of the Purchase
         17      Agreement but prior to the execution and recording of the Fulfilment Deeds, the Farms
         18      General Partners executed that certain Quit Claim Deed (the “1997 Quit Claim Deed”),
         19      which purported to convey, “for and consideration of Love and Affection,” an
         20      undivided one-sixth interest in the Pasco Onion Shed Property to Jody Easterday. On
         21      July 29, 1997, the 1997 Quit Claim Deed was recorded with the Franklin County,
         22      Washington Auditor’s Office as instrument no. 970543716.
         23            34.    On June 18, 1998, following the execution and recording of the Purchase
         24      Agreement but prior to the execution and recording of the Fulfilment Deeds, the Farms
         25      General Partners executed that certain Quit Claim Deed (the “1998 Quit Claim Deed”,
         26      and together with the 1997 Quit Claim Deed, the “Quit Claim Deeds”), which purported
         27       COMPLAINT AGAINST 3E PROPERTIES, et al. –
                  Page 8                                                         B USH K ORNFELD            L LP
         28                                                                               LAW OFFICES
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             1   to convey, “for and consideration of love and affection,” an undivided one-sixth interest
             2   in the Pasco Onion Shed Property to Jody Easterday. On July 7, 1999, the 1998 Quit
             3   Claim Deed was recorded with the Franklin County, Washington Auditor’s Office as
             4   instrument no. 1567859.5 Copies of the Quit Claim Deeds are attached hereto as
             5   Exhibit 7.
             6           35.   On March 15, 2005, each of the 3E Partners executed that certain
             7   amendment (the “3E Partnership Amendment”), which amended paragraph 8 of the 3E
             8   Partnership Agreement to provide that title to 3E’s property “shall be in the name of
             9   the partnership.”
         10              36.   Upon information and belief after reasonable inquiry, Jody Easterday and
         11      3E assert an ownership interest in the Pasco Onion Shed Property, to the exclusion of
         12      Farms. However, the Defendants do not own or have any right to the Pasco Onion Shed
         13      Property. Accordingly, Farms disputes that any of the Defendants have an ownership
         14      interest in some or all of the Pasco Onion Shed Property.
         15                                     COUNT I
         16                DETERMINATION OF VALIDITY, PRIORITY, OR EXTENT
                                     OF INTERESTS IN PROPERTY
         17                            (Fed. R. Bankr. P. 7001(2))
         18              37.   Farms repeats and realleges the allegations contained in each preceding
         19      paragraph of this Complaint as though fully set forth herein.
         20              38.   Pursuant to and in accordance with the terms of the Farms Partnership
         21      Agreement, the title to the Pasco Onion Shed Property has been held in the names of
         22      the Farms General Partners. The Quit Claim Deeds purporting to transfer an interest in
         23      the Pasco Onion Shed Property were of no legal force or effect.
         24
                 5
         25        A previous version of the 1998 Quitclaim Deed, containing certain typographical
                 errors was recorded with the Franklin County, Washington Auditor’s Office as
         26      instrument no. 1563617, on March 22, 1999.
         27          COMPLAINT AGAINST 3E PROPERTIES, et al. –
                     Page 9                                                        B USH K ORNFELD           L LP
         28                                                                                LAW OFFICES
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             1          39.    The Pasco Onion Shed Property is entirely owned by Farms’ estate, and
             2    therefore not by any of (i) the Farms General Partners in their individual capacities, (ii)
             3    3E, or (iii) Jody Easterday.
             4          40.    Farms is therefore entitled to a judicial determination by this court that the
             5    Pasco Onion Shed Property belongs solely to Farms’ estate.
             6                                         COUNT II
             7                                DECLARATORY JUDGMENT
                                                (28 U.S.C. §§ 2201, 2202)
             8
                        41.    Farms repeats and realleges the allegations contained in each preceding
             9
                  paragraph of this Complaint as though fully set forth herein.
         10
                        42.    Upon information and belief after reasonable inquiry, the Defendants
         11
                  assert that the Pasco Onion Shed Property is owned in whole or in part by them.
         12
                        43.    Farms asserts that the Pasco Onion Shed Property belongs to its estate and
         13
                  not to any other party, including any of (i) the Farms General Partners in their individual
         14
                  capacities, (ii) 3E, or (iii) Jody Easterday.
         15
                        44.    Thus, an actual, substantial, and justiciable controversy exists between the
         16
                  Plaintiff and Defendants concerning the ownership of the Pasco Onion Shed Property.
         17
                        45.    Such a controversy is sufficient to warrant the issuance of a declaratory
         18
                  judgment that the Pasco Onion Shed Property is owned entirely by Farms’ estate and
         19
                  none of (i) the Farms General Partners in their individual capacities, (ii) 3E, or (iii) Jody
         20
                  Easterday have a direct ownership interest of the Pasco Onion Shed Property.
         21
         22                                           COUNT III
                                              DECLARATORY JUDGMENT
         23
                                                (28 U.S.C. §§ 2201, 2202)
         24             46.    Farms repeats and realleges the allegations contained in each preceding
         25       paragraph of this Complaint as though fully set forth herein.
         26
         27        COMPLAINT AGAINST 3E PROPERTIES, et al. –
                   Page 10                                                            B USH K ORNFELD             L LP
         28                                                                                     LAW OFFICES
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             1              47.   Upon information and belief after reasonable inquiry, Defendant Jody
             2    Easterday asserts that the Quitclaim Deeds are valid and enforceable conveyances of
             3    interests in the Pasco Onion Shed Property.
             4              48.   Farms asserts that the Quitclaim Deeds are invalid and of no legal force or
             5    effect.
             6              49.   Thus, an actual, substantial, and justiciable controversy exists between Farms
             7    and Defendant Jody Easterday concerning the validity and enforceability of the Quitclaim
             8    Deeds.
             9              50.   Such a controversy is sufficient to warrant the issuance of a declaratory
         10       judgment that the Quitclaim Deeds are invalid and of no legal force or effect.
         11
         12
                                          [Remainder of Page Intentionally Left Blank]
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         27        COMPLAINT AGAINST 3E PROPERTIES, et al. –
                   Page 11                                                              B USH K ORNFELD             L LP
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             1                                        PRAYER FOR RELIEF
             2            WHEREFORE, by reason of the foregoing, the Debtors request that the Court
             3    enter judgment:
             4            (1)       determining that the Pasco Onion Shed Property belongs to Farms’
             5                      estate and not to the Defendants;
             6            (2)       declaring that the Pasco Onion Shed Property constitutes, in its
             7                      entirety, property of Farms’ estate;

             8            (3)       declaring that the Quit Claim Deeds are invalid and of no legal force
                                    and effect; and
             9
         10               (4)       granting Farms such other and further relief as the court deems just,
                                    proper and equitable, including the costs and expenses of this action.
         11
         12       Dated: December 27, 2021                     BUSH KORNFELD LLP
         13                                            /s/ Thomas A. Buford
         14                                            THOMAS A. BUFORD, III (WSBA 52969)
                                                       BUSH KORNFELD LLP
         15
         16                                            RICHARD M. PACHULSKI (admitted pro hac vice)
                                                       JEFFREY W. DULBERG (admitted pro hac vice)
         17                                            JASON H. ROSELL (admitted pro hac vice)
         18                                            PACHULSKI STANG ZIEHL & JONES LLP

         19                                            Attorneys for Plaintiff,
                                                       Debtors and Debtors in Possession
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         27        COMPLAINT AGAINST 3E PROPERTIES, et al. –
                   Page 12                                                               B USH K ORNFELD             L LP
         28                                                                                        LAW OFFICES
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             1                                           Exhibit 1
             2                                   Purchase Agreement
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             1                                           Exhibit 2
             2                                       Fixture Filing
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             1                                           EXHIBIT 3
             2                                             Survey
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             1                                           Exhibit 4
             2                                 Charlie Cox Estate Deed
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             1                                           Exhibit 5
             2                                  Helen Cox Estate Deeds
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             1                                           Exhibit 6
             2                                     Fulfillment Deeds
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             1                                           Exhibit 7
             2                                     Quit Claim Deeds
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